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  IT IS ORDERED as set forth below:



  Date: December 16, 2019
                                                        _____________________________________
                                                                      Paul Baisier
                                                              U.S. Bankruptcy Court Judge

 _______________________________________________________________




                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:                                      )              CHAPTER 13
                                            )
JUNIOR EUSTACE BENJAMIN                     )              CASE NO. 18-52475-PMB
                                            )
         DEBTOR.                            )
                  ORDER GRANTING DEBTOR’S
     MOTION FOR EMERGENCY HEARING AND NOTICE OF HEARING
         Debtor JUNIOR EUSTACE BENJAMIN filed a Motion to Incur Debt (the “Motion”)
(Docket No. 41) and a Motion for Expedited Hearing on Motion to Incur Debt (the “Emergency
Motion”) (Docket No. 42) on December 13, 2019. After review of the matters, it is hereby
         ORDERED that the Emergency Motion is GRANTED, and a hearing will be held
regarding the Motion on the 19th day of December, 2019, commencing at 10:00 A.M. in
Courtroom 1202, at the Richard B. Russell Federal Building and United States Courthouse, 75
Ted Turner Drive, S.W., Atlanta, Georgia 30303. It is further
         ORDERED that Debtor’s Counsel shall serve a copy of this Order and Notice of Hearing
by the method or methods (phone call, electronic mail, fax, courier, etc.) that will
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provide expeditious notice and service to the the Chapter 13 Trustee. Debtor’s Counsel shall
serve a copy of this Order and Notice of Hearing by mail on all other creditors listed on the
mailing matrix in this case. Debtor’s Counsel is further directed to file a certificate of service
setting forth the manner and method of all such service prior to the hearing.
       Your rights may be affected by the Court’s ruling on the Motion. You should read the
Motion carefully and discuss the Motion with your attorney, if you have one in this bankruptcy
case. (If you do not have an attorney, you may wish to consult one.) If you do not want the Court
to grant the relief sought in the pleading or if you want the Court to consider your view, then you
and/or your attorney must attend the hearing. You may also file a written response to the Motion
with the Clerk at the address stated below, but you are not required to do so. If you file a written
response, you must attach a certificate stating when, how and on whom (including addresses)
you served the response. Mail or deliver your response so that it is received by the Clerk before
the hearing. The address of the Clerk's Office is Clerk, U. S. Bankruptcy Court, Room 1340, 75
Ted Turner Drive, S.W., Atlanta, GA 30303.


                                    [END OF DOCUMENT]


Prepared and submitted by:

_____/s/_______________
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